Case 1:19-cr-00025-GJQ ECF No. 1-1 filed 01/21/19 PageID.2 Page 1 of 11



           CONTINUATION SHEET FOR CRIMINAL COMPLAINT

  I, Peter C. Jolliffe, being first duly sworn, hereby depose and state as follows:

  1.     I make this affidavit in support of a Complaint charging MOHAMUD
         ABDIKADIR MUSE (MUSE); his brother, MUSE ABDIKADIR MUSE
         (MM); and their brother-in-law/cousin, MOHAMED SALAT HAJI (HAJI);
         with conspiring to provide material support or resources to a designated foreign
         terrorist organization; to wit: ISIS - in violation of 18 U.S.C. § 2339B, between in
         or about October 30, 2018 and on or about January 21, 2019, in the Western
         District of Michigan and elsewhere.

  2.     I am a Special Agent with the Federal Bureau of Investigation (FBI), and have
         been employed as a federal investigator for nine years. As a Special Agent with
         the FBI, my duties include the investigation of alleged violations of federal
         criminal laws, including terrorism offenses.

  3.     The information contained in this affidavit comes from my personal observations,
         my training and experience, and information provided to me by other law
         enforcement officers who have participated in this investigation. This affidavit is
         intended to articulate sufficient probable cause to support charges in the
         complaint and does not represent all of the information and evidence gathered in
         this case.

                                     PROBABLE CAUSE

  4.     Title 18, United States Code, Section 2339B, prohibits, in pertinent part, a person
         from knowingly providing material support or resources to a foreign terrorist
         organization, or attempting or conspiring to do the same.

  5.     The term “material support or resources” means any “property, tangible or
         intangible, or service, including currency or monetary instruments or financial
         securities, financial services, lodging, training, expert advice or assistance,
         safehouses, false documentation or identification, communications equipment,
         facilities, weapons, lethal substances, explosives, personnel…, and transportation,
         except medicine or religious materials.” 18 U.S.C. Section 2339A(b)(1) and
         Section 2339B(g)(4).

  6.     On or about October 15, 2004, the United States Secretary of State designated al-
         Qa’ida in Iraq (AQI), then known as Jam’at al Tawhid wa’al-Jihad, as a Foreign
         Terrorist Organization (FTO) under Section 219 of the Immigration and

                                            1
Case 1:19-cr-00025-GJQ ECF No. 1-1 filed 01/21/19 PageID.3 Page 2 of 11



        Nationality Act and as a Specially Designated Global Terrorist entity under
        section 1(b) of Executive Order 13224.

  7.    On or about May 15, 2014, the Secretary of State amended the designation of AQI
        as an FTO under Section 219 of the Immigration and Nationality Act and as a
        Specially Designated Global Terrorist entity under section 1(b) of Executive
        Order 13224 to add the alias Islamic State of Iraq and the Levant (ISIL) as its
        primary name. The Secretary also added the following aliases to the FTO listing:
        the Islamic State of Iraq and al-Sham (ISIS – which is how the FTO will be
        referenced herein), the Islamic State of Iraq and Syria, ad-Dawla al-Islamiyya fi
        al-‘Iraq wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-Furqan Establishment for
        Media Production. On or about September 21, 2015, the Secretary added the
        following aliases to the FTO listing: Islamic State, ISIL, and ISIS. To date, ISIS
        remains a designated FTO.

  8.    MUSE is a 23-year-old male, who was born in Kenya and is a derivative U.S.
        citizen. MM is a 20-year-old male and the younger brother of MUSE; he too was
        born in Kenya and is a derivative U.S. citizen. HAJI is a 26-year-old male and is
        the brother-in-law of MUSE and MM. He was also born in Kenya and is a
        naturalized U.S. citizen. MUSE, MM and HAJI all reside in Lansing, MI, within
        the Western District of Michigan.

  9.    In or about April of 2016, Facebook account “Mohamud A Musa” (FB Account-
        Muse #1) came to the attention of the FBI based on material that was posted on
        the account’s publicly viewable pages. The initial FBI review of FB Account-
        Muse # 1 revealed frequent posts of photos, videos, and statements and
        commentary that were pro-ISIS in nature and what can be described as violent,
        extremist propaganda. In or about the Fall of 2016, FBI analysis of certain photos
        posted to FB Account-Muse #1 led to former Omaha, Nebraska resident MUSE.
        In August 2016, MUSE was issued a Michigan driver’s license reflecting a
        Lansing, Michigan address. MUSE’s Facebook verified phone number contains
        an account birth date that links to MUSE’s actual birth date.

  10.   On or about June 21, 2017, an undercover FBI employee (UCE-1), posing as an
        ISIS recruiter, communicated with MUSE via FB Account-Muse #1. In their
        initial exchanges, MUSE told UCE-1 that he wanted to join ISIS in Raqqa, Syria,
        that he was saving his money to pay for the trip to Syria, that he had a valid U.S
        passport, and that he planned to die with a gun in his hand fighting for ISIS.
        Agents later verified that MUSE did have a valid passport, with an expiration date



                                         2
Case 1:19-cr-00025-GJQ ECF No. 1-1 filed 01/21/19 PageID.4 Page 3 of 11



        in 2022. Approximately a month later, Facebook suspended FB Account-Muse
        #1, in July 2017.

  11.   In or about early August of 2017, Facebook account “Abu Usama” (FB Account-
        Muse #2) came to the attention of the FBI. FBI review of FB Account-Muse #2’s
        publicly viewable pages revealed similar posts of pro-ISIS and violent extremist
        propaganda. A closer analysis of certain photos posted to FB Account-Muse #2
        suggested MUSE was the user of FB Account-Muse #2. On or about August 29,
        2017, UCE-1, posing as the same ISIS recruiter, communicated with FB
        Account-Muse #2. The online exchange was consensually monitored by the FBI.
        In summary, MUSE confirmed that his prior Facebook account was disabled by
        Facebook and that he was continuing to save money to travel to join ISIS and
        fight on their behalf in Syria.

  12.   On or about September 13, 2017, the United States District Court, Western
        District of Michigan, issued a Search Warrant to Facebook for information
        associated with FB Account-Muse #1. Based on an analysis of the returns,
        investigators identified communications from in or about January of 2017 to in or
        about June 2017, between MUSE and FB Account-Haji. These exchanges
        documented their shared support for ISIS and their desire to fight for this
        Designated Foreign Terrorist Organization. FBI review of FB Account-Haji’s
        publicly viewable user profile information revealed a user profile picture and
        numerous other posted photographs that were subsequently identified as
        HAJI. An example of their online exchanges includes on the following: On or
        about January 19, 2017, HAJI wrote to MUSE asking for additional ISIS videos.
        HAJI went on to write that he liked how ISIS burned people, “I love it man.” On
        or about January 20, 2017, HAJI wrote to MUSE, “Haha he but that guy who was
        threaten he put put fuel on That dude while his burning that was funny dude.”
        Facebook suspended FB Account-Muse #2 in October 2017.

  13.   On or about February 8, 2018, the United States District Court, Western District
        of Michigan, issued a Search Warrant for information associated with FB
        Account-Muse #2. An analysis of the returns from this search led to the discovery
        of numerous exchanges between MUSE and MM, from August to October 2017,
        discussing their support of ISIS and the ideals for which the group stood. FBI
        review of FB Account-MM’s publicly viewable user profile information revealed
        the account holder as residing in Lansing, Michigan and contained a photograph
        that was later confirmed to be MM. A check confirmed that MM was issued a
        U.S. passport in September 2012 but it had expired in September 2017.



                                        3
     Case 1:19-cr-00025-GJQ ECF No. 1-1 filed 01/21/19 PageID.5 Page 4 of 11



         14.      On or about May 22, 2018, the United States District Court, Western District of
                  Michigan, issued a Search Warrant to Facebook for information associated with
                  FB Account-MM. An analysis of the returns revealed numerous exchanges
                  between MM and FB Account-Haji, from at least in or about November of 2017
                  to in or about May of 2018. Similarly, these exchanges also confirmed that the
                  two shared a desire to fight for ISIS and a knowledge of ISIS’s presence in
                  Somalia. Some of their online conversations focused on specific acts of violence
                  against non-believers. On or about November 1, 2017, MM sent HAJI a screen
                  capture of the Tribeca truck attack in New York City that occurred on October 31,
                  2017. HAJI wrote, “Real civil war” and MM responded that if this did not wake
                  the people up nothing would. HAJI responded, “Yeahh I’m ready inshAllah
                  [Arabic phrase for God Willing]…This is a call for hijra 1. We can’t live here I’m
                  trynna plan for hijjra now.” MM then wrote, “You have spoken the truth, just wait
                  on the opportunity. It will present itself if we are truthful. But know right it’s
                  gonna require some type of sacrifice.” On or about March 28, 2018, HAJI sent a
                  picture of a slaughtered goat to MM and added, “Next time I want to catch kufaar
                  [Arabic word for non-believer] and do my jihad training on them…That will be in
                  Dowla [Arabic word for ISIS]…”

         15.      On or about August 28, 2018, the United States District Court, Western District of
                  Michigan, issued a Search Warrant to Facebook for information associated with
                  FB Account-Haji. A further analysis identified communications from at least in or
                  about June of 2018 to in or about August of 2018, between HAJI and FB
                  Account-MM. Again their communications reiterated their desire to fight for ISIS
                  and support for the killing of non-believers; as an example on or about July 5,
                  2018, HAJI wrote to MM, “Kuffar [Arabic word for non-believers] I want to kill
                  one inshaAllah [Arabic phrase for God willing] one day,” followed by “my days
                  are coming I want alot of this kuffar [Arabic word for non-believers] dead.” MM
                  replied, “Same here akhi” [Arabic word for brother].

         16.      On or about October 17, 2018, the United States District Court, Western District
                  of Michigan, issued a Search Warrant for information associated with FB
                  Account-MM. Communications between MM and FB Account-Haji from August
                  of 2018 to in or about October of 2018 were identified that continued in the same
                  vein. On or about August 31, 2018, MM and HAJI exchanged a series of
                  communications about MM’s ability to drive in the context of using the vehicle
                  as a weapon for a planned attack; HAJI wrote, “mashaAllah [Arabic phrase for It

1
  In the context of extremism, hijrah is the Arabic phrase/concept for a foreign fighter’s journey from his/her
country of origin to join and fight in terrorist-held territories abroad.



                                                          4
Case 1:19-cr-00025-GJQ ECF No. 1-1 filed 01/21/19 PageID.6 Page 5 of 11



        was God’s will] that’s good so u can drive that stashahadi [Arabic word for
        martyrdom] car right Alhamdulilah” [Arabic phrase for Praise be to God]. MM
        replied, “Yes Inshallah” [Arabic phrase for God willing]. HAJI then wrote, “On
        this Kufarr” [Arabic word for non-believers] and “Wallahi [Arabic phrase for I
        swear to God] I’m ready to meet Allah.” HAJI wrote, “InshaAllah [Arabic phrase
        for God willing] they will jus kno a car pass by for istashahadi [Arabic word for
        martydom] operation.”

  17.   In or about October of 2018, undercover FBI employee # 2 (UCE-2), was
        introduced into the investigation. UCE-2 established a Facebook account with a
        persona of a Somali male, physically located in Somalia. On or about October 11,
        2018, UCE-2 sent a written FB communication to FB Account-MM, regarding the
        situation in Somalia. On or about October 18, 2018, MM responded to UCE-2 in
        an FB communication that stated MM hoped Allah would remove the suffering
        that the Muslims of Somalia were going through. MM then wrote, “I plan in doing
        hijrah to Somalia and joining those who are establishing the sharia [Arabic word
        for Islamic law] of Allah.”

  18.   In or about October of 2018, undercover FBI employee # 3 (UCE-3) was also
        introduced into the investigation. UCE-3 established an FB account, with the
        profile of African-American male convert to Islam, physically located in Chicago,
        Illinois. In or about early October of 2018, UCE-3 and FB Account-Haji
        exchanged communications about being a Muslim in the USA and became FB
        friends. From in or about the remainder of October of 2018 to in or about early
        December of 2018, UCE-3 and HAJI exchanged a series of communications in
        which HAJI revealed his support for ISIS and desire to make hijrah and engage in
        Jihad.


  19.   On or about October 30, 2018, the following communications were exchanged
        between UCE-2 and FB Account-MM: MM wrote that he wanted to travel to
        Somalia to make his bayah [Arabic word for oath/pledge of allegiance] to ISIS
        and “fight in the front lines.” MM told UCE-2 that he would be able to save
        enough money to travel to join ISIS, in about six to eight months. UCE-2
        cautioned MM that specific steps needed to be followed before he would be able
        to join ISIS. Some of these steps included making bayah [Arabic word for
        oath/pledge of allegiance] to ISIS and tazkiyah [Arabic phrase for concept of ISIS
        vetting] of MM. These exchanges culminated in MM agreeing to making his
        pledge in Arabic, and send the video file to UCE-2 to convey to ISIS leadership
        for their acceptance.


                                         5
Case 1:19-cr-00025-GJQ ECF No. 1-1 filed 01/21/19 PageID.7 Page 6 of 11



  20.   On or about November 1, 2018, UCE-2 and FB Account-MM further discussed
        the planned trip including the fact that he would need to renew his passport and
        assumed a timeline of 4 weeks for that process to take place. MM also indicated
        that he has strong support from his brother and his cousin/brother-in law, who feel
        like he does about ISIS.

  21.   On or about November 7, 2018, MM using FB Account-MM sent a video file to
        UCE-2 containing his oath to ISIS. MM told UCE-2 that his cousin Haji speaks
        some Arabic and helped him with the words of the oath. Approximately two days
        later, on or about November 9, 2018, UCE-2 confirmed that he presented the oath
        video to ISIS leadership in Somalia on MM’s behalf and it was accepted.

  22.   On or about November 11, 2018, UCE-2 and MM exchanged communications
        using FB Account-MM. MM wrote that “one” of his local ISIS supporting
        brothers was also planning to make his oath to ISIS, telling UCE-2 that it was his
        belief that the others who were with him did not have any doubts and “I know that
        if I leave they won’t stay behind.” MM then wrote, “I've come this far I’m not
        letting the kuffar [Arabic word for non-believers] stop me now, wallahi [Arabic
        phrase for I swear to Allah] I never go to jail, it’s either hijrah or shahadah
        [Arabic phrase for the death of a martyr].

  23.   On or about November 13, 2018, UCE-2 and MM via FB Account-MM #2
        exchanged communications. MM wrote, “Akhi [Arabic word for brother] me and
        my brother made another Facebook but we didn't get the chance to do bayah, it’s
        only 2 of them, but by Friday inshallah” [Arabic phrase for God willing]. MM
        wrote that one of the local ISIS supporting brothers chose the kunya name “Abu
        Usamah Al Muhajir, but the other akhi [Arabic word for brother] hasn’t chosen
        yet.” For kunya name “Abu Usamah Al Muhajir,” MM advised the FB account is
        “Abu Osama” [FB Account-Muse #3]. Regarding FB account “Abu Osama” [FB
        Account-Muse #3], MM wrote that his brother “just got married”; “is in contact
        with another mujahid [Arabic word for one who engages in Jihad][UCE-1] from
        another wilayah” [Arabic word/concept for ISIS province]; and is the one who
        told MM about “dawlah” [Arabic word for ISIS].

  24.   On or about November 15, 2018, UCE-2 and MM via FB Account-MM #2
        exchanged communications. Reiterating his desire to travel, MM broached the
        subject of needing financial support to purchase his ticket to travel to Somalia.
        Two days later, MM using FB Account-MM #2 sent UCE-2 two video files
        containing the oath of allegiance to ISIS by MUSE and HAJI, along with their
        contact information.


                                          6
Case 1:19-cr-00025-GJQ ECF No. 1-1 filed 01/21/19 PageID.8 Page 7 of 11




  25.   On or about November 19, 2018, UCE-2 contacted FB Account-Haji #2 to
        confirm that he (UCE-2) had received Haji’s oath to ISIS, to which HAJI later
        wrote, “And I have family akhi [Arabic word for brother] I’m going to give them
        warnings then I’ll make my hijrah inshaAllah” [Arabic phrase for God willing].

  26.   On or about December 6, 2018, the following was exchanged between UCE-2 and
        FB Account-Haji #2: HAJI tells UCE-2 that he is assessing another person that
        wants to join ISIS, including one that lives outside his area but is committed and
        has money to travel [UCE-3]. HAJI talked about making “an account” for this
        person [UCE-3], if/when HAJI is fully comfortable with him. HAJI wrote that he
        is trying “my best inshaAllah [Arabic phrase for God willing] to make a way out
        of any ikhwa [Arabic word/concept for ISIS fighting brothers] of ours who loves
        the Dowla [Arabic word for ISIS] and have the wealth to leave this disgusting
        place…” HAJI went on to write that he just has to save his money in order to join
        ISIS in Somalia.

  27.   On or about December 6-7, 2018, UCE-3 and FB Account-Haji exchanged
        communications, with HAJI asking UCE-3 for a face-to-face meeting; they
        agreed to meet on Friday, December 14, 2018.

  28.   On or about December 11, 2018, UCE-3 and FB Account-Haji communicated,
        with HAJI sending UCE-3 the written Arabic language ISIS oath and an audio file
        of himself reciting the ISIS pledge in Arabic. HAJI reminded UCE-3 of their
        plans to meet on Friday, December 14, 2018. HAJI and UCE-3 agreed to meet in
        Benton Harbor, Michigan.

  29.   On or about December 11-12, 2018, MUSE communicated with UCE-2 using FB
        Account-Muse #3. In their conversation MUSE wrote that “Abu Ali al muhajir”
        [the name MM chose as his kunya or ISIS fighter name, revealed by MM from FB
        Account-MM to UCE-2 on November 5, 2018] knows MUSE’s full
        understanding of “dawlah” [Arabic word for ISIS]. MUSE wrote, “I was
        supporting dowla [Arabic word for ISIS] in my family before anyone did.” MUSE
        wrote that he married in June of last summer but his wife knows of his desire to
        join ISIS and is willing to come with him. MUSE wrote that he is saving money
        to pay for “hijrah” soon. MUSE closed this exchange with the following: “Brother
        I just want Islam to win I want to kill kuffar” [Arabic word for non-believers].

  30.   On or about December 14, 2018, HAJI and MM met with UCE-3 in Benton
        Harbor, Michigan. Both MM and HAJI coached UCE-3 through the verbal
        recitation of the oath as HAJI recorded it. During the course of their

                                        7
Case 1:19-cr-00025-GJQ ECF No. 1-1 filed 01/21/19 PageID.9 Page 8 of 11



        conversations, MM stated if he was unable to make hijrah, he would take a car
        and run down “kuffar” [non-believers], like what happened in France. HAJI and
        MM stated if they were unable to make hijrah, Allah commanded that martyrdom
        is the only option.. On or about December 14, 2018, MM, via FB Account-MM
        #2, submitted UCE-3’s oath video to UCE-2.

  31.   On or about December 17, 2018, the following was exchanged between UCE-2
        and FB Account-Muse #3: MUSE wrote that his wife is pregnant and due to give
        birth in March. MUSE wrote that he would travel to Somalia to join ISIS soon
        after the birth of his child.

  32.   On or about December 17, 2018, the U.S. Department of State received an
        application in MM’s name for a U.S. passport. That same day MM conveyed to
        UCE-2 that he and UCE-3 were looking for available flights and the costs
        associated with their travel. Later that day, HAJI using FB Account-Haji #2
        contacted UCE-2 asking for financial assistance to enable MM to travel.

  33.   On or about December 18, 2018, MM, via FB Account-MM #2 sent a link of
        available flights from Chicago, Illinois to Mogadishu, Somalia to UCE-3. MM
        wrote, “It could be very soon that we are in Somalia” and “the other two whi
        should be coming with me [MM] have family that they need to make sure are safe
        so there being little more cautious with there steps, me I’m just ready to leave as
        soon as I get that passport.”

  34.   On or about December 20-21, 2018, the following was exchanged between UCE-
        3 and FB Account-MM #2: MM stated to UCE-3 that his passport should arrive
        next week. MM stated that if he and UCE-3 both receive their passports before
        January 21, 2019, that he and UCE-3 can leave before then. MM requested help
        from UCE-3 searching for a flight and told UCE-3 to look for a route from
        Turkey to Djibouti to Mogadishu. MM and UCE-3 exchanged communications
        about cheaper flights originating from Grand Rapids Airport with a route
        consisting of Orlando, Stockholm, Dubai, Hargesia to Mogadishu, at a cost of
        approximately $1,799 per person. MM stated that as long as he and UCE-3
        “arrive in Mogadishu, it’s cool.” MM told UCE-3 that when the passports arrive
        and tickets are purchased, that these will be the “proof of sincerity” to the
        mujahedeen. MM stated he had $500 to contribute toward the airline ticket cost.
        MM advised the ticket cost was “disheartening” and that he was “disappointed” at
        the price of the ticket per person. MM told UCE-3 that MM told the “mujahid”
        [UCE-2] that MM needed $1,200 for the airfare and that MM can come up with
        $300 more.


                                         8
Case 1:19-cr-00025-GJQ ECF No. 1-1 filed 01/21/19 PageID.10 Page 9 of 11



  35.   On or about December 21, 2018, FB Account-MM #2 wrote to UCE-2: “Me and
        the ikhwa [UCE-3] have found a ticket, the route is 2 American cities, Dubai and
        then Mogadishu. The date is for the 21st of next month but if the passports arrives
        before then we will try to move it up.” MM advised the airfare cost was “$1799”
        per person; MM requested “$1200” from ISIS to pay for it and that MM could
        pay the rest.

  36.   In addition to the funds that MM stated he could contribute to the cost of an air
        ticket to Somalia, U.S. government funds in the amount of $1,200 were procured
        by the FBI on or about December 2018 to send in $300 increments through MM,
        HAJI, MUSE, and UCE-3 to aid MM to purchase his air ticket to Somalia, with
        the funds purportedly being sent from ISIS in response to MM’s December 21,
        2018 request for assistance.

  37.   According to U.S. Government records, MM was issued a U.S. passport on or
        about December 19, 2018; the passport has an expiration date on or about
        December 18, 2028.

  38.   On or about January 4, 2019, the following was exchanged between UCE-2 and
        FB Account-MM #2: MM told UCE-2 that he received the $300 from ISIS and
        sent a picture of the three $100 bills he picked-up. MM wrote, “The rest should be
        simple inshaAllah [Arabic phrase for God willing] let me know when your
        sending the money and I’ll let the ikhwa [Arabic word/concept for local ISIS
        fighting brothers]. The information so i buy my ticket and plan for my hijrah.”
        With regard to the MoneyGram transaction, MM referenced the sister-in-law that
        MM discussed yesterday and wrote, “My sister in law helped me so it was easy.”
        MM then wrote, “But akhi [Arabic word for brother] you are sending the money
        one person at a time right?” All of the monies were sent via MoneyGram between
        January 4 and January 5, 2019, with MM, HAJI, MUSE, and UCE-3 each
        collecting $300; all of these transactions were recorded.

  39.   On or about January 7, 2019, MM communicated with UCE-2 that MM advised
        that he and the other brother [UCE-3] were planning to buy their airline tickets
        tomorrow, with a scheduled departure date of January 21, 2019. MM wrote,
        “Thats exactly 14 days from now.”

  40.   On or about January 7, 2019, UCE-2 and HAJI via FB Account-Haji #2
        communicated. HAJI stated, “Akhii [Arabic word for brother] by Allah no
        problem inshaAllah [Arabic phrase for God willing] i will find it and work hard
        for it ill be coming with Abu Osama [MUSE] at the same time not to long
        inshaAllah” [Arabic phrase for God willing].

                                         9
Case 1:19-cr-00025-GJQ ECF No. 1-1 filed 01/21/19 PageID.11 Page 10 of 11




   41.   On or about January 7, 2019, UCE-2 and MUSE via FB Account-Muse #4
         communicated about Salamujahid [HAJI]. MUSE stated, “That's [HAJI] my
         brother Inlaw”; and “yes we talked and agreed to leave together.”

   42.   On or about January 8-9, 2019, Muse communicated with UCE-2 using FB
         Account-MM #2. MM told UCE-2 that MM and UCE-3 purchased their airline
         tickets and sent images of his travel itinerary, which reflected passenger “Mr
         Muse Abdikadir Muse;” payment summary total price $1,749; departure on or
         about January 21, 2019 from Grand Rapids, Michigan, at Gerald R. Ford
         International Airport, via a series of connections to arrive in Mogadishu, Somalia,
         on or about January 23, 2019.

   43.   On or about January 10, 2019, the U.S. Department of State received an
         application in MM’s name for a U.S. passport. This application was accompanied
         by a U.S. Department of State form titled, “STATEMENT REGARDING A
         LOST OR STOLEN U.S. PASSPORT BOOK AND/OR CARD.” Said form
         stated on or about December 22, 2018, “BOOK: MY PASSPORT BOOK
         ARRIVED ALONG WITH MY OLD. I PLANNED TO THROW ONE OUT
         AND ENDED UP THROWING THE WRONG ONE OUT.” The form bore
         MM as the signatory, dated on or about January 2, 2019.

   44.   According to U.S. Government records, MM was issued a replacement U.S.
         passport on or about January 14, 2019; the passport has an expiration date on or
         about January 13, 2029.


   45.   On or about January 15, 2019, MM and HAJI met with UCE-3 at a Walmart store
         in Lansing, MI. The meeting was consensually monitored by the FBI. MM, HAJI,
         and UCE-3 shopped together at the Walmart and discussed items for MM and
         UCE-3’s upcoming trip to join ISIS in Somalia. MM selected a pair of black
         combat-style boots, which UCE-3 purchased for MM at a retail price of
         approximately $20.00. MM and HAJI told UCE-3 that if they failed in their
         attempt to join ISIS, they would conduct an attack or martyrdom operation.
         During this exchange, MM referenced a terrorism attack in Paris.

   46.   On or about January 21, 2019, MUSE, MM, and HAJI traveled together, by
         vehicle – a Toyota Matrix – from Lansing, Michigan, to Gerald R. Ford
         International Airport, in Grand Rapids, Michigan. MUSE was driving and parked
         the vehicle in short-term parking at the airport. MUSE, MM, and HAJI entered
         the departure terminal together. MM proceeded to the airline ticket counter,
         obtained a boarding pass for his scheduled flight, checked one bag, and proceeded
         to the Transportation Security Administration (TSA) security checkpoint. As MM

                                         10
Case 1:19-cr-00025-GJQ ECF No. 1-1 filed 01/21/19 PageID.12 Page 11 of 11



         was completing the TSA security process, MM was arrested in the airport
         terminal by law enforcement officers. Shortly thereafter, MUSE and HAJI were
         arrested in the airport terminal by law enforcement officers.

   47.   Based on the foregoing, I respectfully submit that there is probable cause to
         believe that between in or about October 30, 2018 and on or about January 21,
         2019, in the Western District of Michigan and elsewhere, MUSE, MM, and HAJI
         engaged in a conspiracy to provide material support or resources to a designated
         foreign terrorist organization – ISIS – in violation of 18 U.S.C. § 2339B.




                                        11
